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                              7                             UNITED STATES BANKRUPTCY COURT
                              8
                                                             SOUTHERN DISTRICT OF CALIFORNIA
                              9
                                  In re:                                             Lead Case No.: 17-05137-LT7
                             10                                                      (Jointly Administered)
                                  PEPPERTREE PARK VILLAGES 9 & 10,
                             11
                                  LLC,                                               TRUSTEE’S STATUS REPORT
                             12
                                                          Debtor.                    Date:        August 24, 2022
La Jolla, California 92037




                             13                                                      Time:        10:00 a.m.
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                                                                                     Dept:        Three (3)
                             14   PEPPERTREE PARK VILLAGES 9 & 10,                   Honorable Laura S. Taylor
                                  LLC,
                             15
                                            Case No. 17-05137-LT7
                             16
                                  PEPPERTREE LAND COMPANY,
                             17             Case No. 17-05135-LT11
                             18   NORTHERN CAPITAL, INC.
                             19            Case No. 17-04845-LT11

                             20   DUANE SCOTT URQUHART,
                                            Case No. 17-04846-LT11
                             21
                                                          Debtors.
                             22

                             23

                             24            Gerald H. Davis, the chapter 7 trustee (the “Trustee”), submits this Status Report

                             25   regarding the bankruptcy case of Peppertree Park Villages 9 & 10, LLC (“Debtor”).

                             26            The Trustee was appointed in this case on June 27, 2022, when Debtor’s case was

                             27   converted from chapter 11 to chapter 7.

                             28   ///

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                              1   A.     NO COMPLIANCE WITH LOCAL RULE 1019 AND CONVERSION ORDER

                              2          Upon entry of an order converting a chapter 11 case to chapter 7, Local Rule 1019

                              3   requires a debtor to, among other things, contact the chapter 7 trustee to arrange delivery of all

                              4   books and records to the trustee and, within seven days, to file and serve a verified schedule of

                              5   all property of the estate as of the date of conversion. (LBR 1010-1).

                              6          On June 27, 2022, the Court entered its Order converting Debtor’s case to chapter 7, and

                              7   ordered Debtor to file the following documents within 30 days (i.e., by July 27, 2022).

                              8                  a.      a schedule of all property not listed in the final report and
                                                         account of the debtor in possession or chapter 11 trustee
                              9
                                                         which was acquired after the commencement of the chapter
                             10                          11 case but before the entry of this conversion order;

                             11                  b.      a schedule of executory contracts and unexpired leases
                                                         entered into or assumed after the commencement of the
                             12                          chapter 11 case but before the entry of this conversion
                                                         order;
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                             14                  c.      a schedule of unpaid debts not listed in the final report and
                                                         account of the debtor in possession or chapter 11 trustee
                             15                          which were incurred after the commencement of the
                                                         chapter 11 case but before the entry of this conversion
                             16                          order, as required by FRBP 1019(5); and
                             17                  d.      a statement of intention with respect to retention or
                                                         surrender of property securing consumer debts, as required
                             18
                                                         by 11 U.S.C. § 521(a) and FRBP 1019(1)(B), and
                             19                          conforming to Official Form 108.

                             20   (ECF No. 849) Neither the Rule 1019 report nor any of the documents listed above has been
                             21   filed with the Court or delivered to the Trustee. The Trustee and his counsel are in frequent
                             22   communication with Debtor’s attorney Paul Leeds regarding this matter.
                             23          As of today, the Trustee is in his 52nd day since his appointment and he is still without
                             24   basic information about the Debtor and its current assets and liabilities. Yet, as discussed
                             25   below, the estate is incurring more than $35,000 per month in debt service on the chapter 11
                             26   loan and has no funds to make payments.
                             27   ///
                             28   ///

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                              1   B.        SECTION 341 MEETING OF CREDITORS

                              2             The Trustee has not yet had the opportunity to question Debtor’s principal at the Section

                              3   341 creditors’ meeting. Prior to the date set for the initial meeting, a request was made to the

                              4   Trustee to continue the meeting because of the pending reconsideration motion. The Trustee

                              5   agreed to call for documents and creditors and then to continue the meeting. Then, due to

                              6   misunderstanding, neither Debtor’s principal nor counsel appeared at the initial meeting. The

                              7   next Section 341 meeting is scheduled for September 7, 2022.

                              8   C.        SALE OF PROPERTY

                              9             The day after the August 2, 2022 reconsideration hearing, the Trustee’s counsel

                             10   contacted Onyx Construction Group (“Onyx”), the interested buyer that had been working with

                             11   Debtor during the chapter 11 phase of the case, through its broker Corey King. The Trustee and

                             12   his counsel have been diligently negotiating a purchase and sale agreement with Onyx that
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                             13   contains the necessary bankruptcy-specific provisions for a sale of estate property, including
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                             14   court approval and overbid provisions. The Trustee anticipates that the Agreement will be

                             15   finalized soon. The Trustee will then file a motion to approve auction procedures and sale of

                             16   the property free and clear of liens, claims, and interests.

                             17             The Trustee’s counsel has also met and/or conversed with others regarding interest in

                             18   the property and possible overbid.

                             19   D.        TEPA PRODUCE

                             20             Contrary to representations made to the Court and the Trustee, what appears to be a

                             21   large warehouse and produce-packing operation is located on Debtor’s real property. The

                             22   operation is known as Tepa Produce, located at 1654 South Mission Road, Fallbrook CA 92028.

                             23   The APN for this address is 104-351-17-00, the same APN for Unit 9 that is owned by the

                             24   estate.

                             25             On August 13, 2022, the Trustee and Leslie Gladstone visited the property and observed

                             26   several trucks and an ongoing operation at the property.

                             27             The Trustee’s counsel recently learned from Duane Urquhart that Tepa Produce has an

                             28   annual lease on Unit 9 that allegedly runs June to June. The Trustee’s request for a copy of that

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                              1   lease was finally satisfied late yesterday. The Trustee and his counsel are reviewing the lease

                              2   and a newly disclosed Property Management Agreement that purports to divert all rental income

                              3   to Peppertree Land Company.

                              4          The undisclosed existence of a lease has obvious consequences for the Trustee’s sale of

                              5   the property free and clear of liens, claims, and interests. In addition, the Trustee initially

                              6   obtained a binder for insurance on the property based on the inaccurate representation that the

                              7   property was vacant land. The Trustee’s insurance is insufficient and he must now obtain a

                              8   quote for insurance of real property on which a produce business is operating.

                              9   E.     GF CAPITAL LOAN

                             10          The Trustee is in communication with GF Capital, the chapter 11 lender. According to

                             11   GF Capital’s monthly loan statement, dated August 10, 2022, the principal balance of the loan is

                             12   $3,338,007.49; interest rate is 12.500%; monthly payment amount is $35,253.84; previous
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                             13   unpaid balance was $35,253.84; unpaid late/NSF fees are $3,525.38; and maturity date is
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                             14   1/27/2023.

                             15          As no funds have been turned over to the Trustee, the estate has no money from which

                             16   to pay GF Capital. Yet, Peppertree Land Company is apparently receiving the rental income

                             17   from the Tepa Lease of Debtor’s property.

                             18   F.     CHAPTER 11 ADMINISTRATIVE CLAIMS BAR DATE

                             19          The Trustee obtained a chapter 7 claims bar date of November 3, 2022.

                             20          In addition and in order to understand the universe of chapter 11 administrative claims,

                             21   the Trustee obtained a chapter 11 administrative claims bar date for the same November 3, 2022

                             22   date. The Trustee served the Notice of chapter 11 administrative claims bar date on all known

                             23   possible administrative claimants.

                             24   G.     SAN DIEGO COUNTY PLANNING COMMISSION

                             25          The Trustee’s counsel is in communication with the County’s Planning & Development

                             26   Services personnel regarding the Trustee’s appointment in this case and control of the property

                             27   and project.

                             28   ///

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                              1   H.     APPEAL OF MALPRACTICE JUDGMENT

                              2          The Trustee and his counsel received copies of invoices for legal services rendered to

                              3   Debtor and its affiliates during the chapter 11 phase of this case. Counsel investigated the

                              4   matter and learned that Debtor and its affiliates filed a lawsuit captioned Peppertree Villages 9

                              5   & 10, LLC v. Lounsbery Ferguson Altona & Peak LLP, Case No. 37-2020-00047053-CU-PN-

                              6   NC, in California Superior Court, County of San Diego. The Trustee is informed that this is a

                              7   legal malpractice case that was commenced on or about December 21, 2020. According to the

                              8   Register of Actions for that case, judgment was entered in favor of the defendant and, on

                              9   August 1, 2022 (post conversion), Debtor and its affiliates filed a Notice of Appeal.

                             10          The Trustee is investigating this undisclosed appellate action and has advised the

                             11   attorney representing Debtor and the affiliates that only the Trustee can determine actions to be

                             12   taken in the name of Debtor. The Trustee has requested all the documents relevant to the causes
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                             13   of action and appeal. Some but not all documents were received yesterday. The Trustee intends
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                             14   to evaluate the merits of the malpractice claim and appeal in order to determine how to proceed.

                             15   I.     INVESTIGATION OF NCI’S ALLEGATIONS ABOUT HOWARD JUSTUS

                             16          In its motion to reconsider the conversion order, Northern Capital, Inc. made several

                             17   allegations of misconduct against Howard Justus relating to Mr. Justus’s services as Debtor’s

                             18   chief restructuring officer. The Trustee’s counsel met with Mr. Justus and his attorney. In

                             19   response to the Trustee’s request, Mr. Justus delivered a large number of files plus 494 e-mails

                             20   related to Debtor’s Units 9 & 10 and the adjacent Units 7 & 8. Given the top priority of selling

                             21   the property, the Trustee has not yet begun the investigation into NCI’s allegations.

                             22                                                 Respectfully submitted,

                             23   Dated: August 17, 2022                        FINANCIAL LAW GROUP
                             24

                             25                                                 By:     /s/ Christin A. Batt
                                                                                      Christin A. Batt, Esq.
                             26                                                       Attorneys for Gerald H. Davis, Trustee
                             27

                             28

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